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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case No.: 2:10-cr-136-FtM-29SPC

STEPHEN BOHRER
_______________________________________


                                            ORDER

        This matter comes before the Court on Stipulation for Substitution of Counsel (Doc. #120)

filed on July 29, 2011. On July 27, 2011, Anthony Borras, Esq., was appointed from the CJA panel

to represent the Defendant. However, the attorneys and the Defendant have agreed to substitute

Landon Miller, Esq., in the place of Attorney Borras.

        Accordingly, it is now

        ORDERED:

        The Stipulation for Substitution of Counsel (Doc. #120) is GRANTED. Anthony Borras,

Esq., shall be relieved of any further obligation in this matter. Landon Miller, Esq., shall be

designated Counsel of record and all correspondence and pleadings shall be forwarded to his

attention.

        DONE AND ORDERED at Fort Myers, Florida, this          1st     day of August, 2011.




Copies: All Parties of Record
